Case 2:17-cr-00058-LGW-BWC Document 62 Filed 09/26/18 Paoe 1 of 9

ACCUSAT|ON

W|TNESSES: See last page of Accusation.

CT. il 10 years serve 18 months, CTS since 7/29/'01
$2500 fine, $200 restitution to Randy Thompson
Cr'- 2/ 10 years serve 18 months conc. to Ct. 1

  

GOVERNMENT
EXHlBlT

cASE No. O[“CQ,-qg'l"}q
Docr<ET No.
a r\\o. di ll ga
s PERroR couRT
BARRov\/, GEoRGlA
AuGusT TERM, 2001

THE STATE OF GEORG|A
VS.

W|LL|AMS . KENNETH BRANDON

1 THEFT BY TAK|NG (O.C`G,A. § 16-8-2}
2 AGGRAVATED ASSAL|LT (O.C.G.A. § 16-5-
21)

T|M MAD\SON
D|STR|CT ATTORN EY

f

cr 54 /'
GLOR\A WALL
CLERK SUPER!OR COURT

 

The Defendant herein waives formal arraignment.

The Defendant herein waives formal arraignment,

 

 

 

 

 

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Pleads Date Pleads r` , Date r r
‘~»ld”li`,é/v‘°] /f;/j¢ EL/;-( §
TlNl MAD|SON T|M MAD|SON L)
DlSTRlCT A'l`l'ORN EY D|STR|CT ATTORN EY
l l
DEFENDANT
A'l`l'ORNEY FOR DEFENDANT A`|'|'ORNEY FOR DEFENDANT

| hereby certify rhcn me
following is cl true and
correct copy crs llled in lhe
Oiiice or Clerl: of Superlor
Couri of Bcrrrow Counly

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nw BW'.\\M-k’i_l& Z.L‘\“@
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COUNT NO. 1

TlM MAD|SON, District Attorney, in the name and behalf of the citizens of Georgia, does hereby charge
and accuse

WILL|AMS, KENNETH BRANDON

with the offense of THEFT BY TAKlNG (O.C.G.A. § 16-8-2) for that the said accused, in Barrow County,
on or about July 28, 2001, did unlawfully take a 1992 Ford Explorer, the property of Randy Thompson,
with the intention of depriving said owner of said property. contrary to the laws of said State, the good
order, peace and dignity thereof.

TlM lV|AD|SON
DISTR|CT ATTORNEY

COUNT NO. 2

TlM MAD|SONl District Attorney, in the name and behalf of the citizens of Georgia. does hereby charge
and accuse

WILL|AMS. KENNETH BRANDON

with the offense of AGGRAVATED ASSAULT (O.C.G.A. § 16-5-21) for that the said accused, in Barrow
County, on or about July 28, 2001. did unlawfully make an assault upon the person of R.A. Holcomb, with
a Ford Explorer. an object, which when used offensively against a person is likely to result in serious
bodily injury by intentionally ramming his vehicle into R.A. Holcomb's vehicle while R. A. Holcomb was
inside of it, contrary to the laws of said State. the good order, peace and dignity thereof.

TlM MAD|SON
DlSTR|CT ATTORNEY

 

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oEFENoANr(s):

WILL|AMS . KENNETH BRANDON

WlTNESSES:

R A Holcomb , Prosecutor
Winder Po|ice
Phone (W): 770-867-2156

Randy D. Thompson , Victim
284 Highway 211
Winder, GA 30680

Phone (H): 770-867-2200
Phone (W): 770-867-2180

Officer Whilmire, Witness
Winder Pol|ce

Tim Burke , Witness

Barrow County Sheriff's Oftice
33 Woodlawn Ave.

Winder, GA 30680

Jchn Blocker , Witness
Winder Police

ACCUSAT|ON

CASE NO.
DOCKET NO.

 

STATE CF GEORGIA

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offenee(s) of

Case 2:17-cr-00058-LGW-BWC Document 62 Filed 09/26/18 Page 4 of 9

Ill THE SUPBRIOR COURT OF BARROW COUHT!, GBORGIA

VB _ Charge(s) 7;¢# 59 )éé’z% 7¢1¢%'? Ml
guam rdi/raw easier saw

(@ PLEA OF GUILT! ACKHOWLRDGEHBHT m WAIVER OF RIGBTS
famide

(/‘J' ftqu , am the defendant in the above-styled case and
charged with the above offense(s). I am showing to the Court that I understand
rights and am waiving them by answering the questions below. Underetanding

my own free will, to enter a plea of guilty to the

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§

 

 

 

years old; I deannot read and writer I work as

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you are guilty of the offense(s) charged unless you want to?

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Do you understand ou don't have to do, say or sign anything§ho@nq§,;;§hat

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res 959 No § §§ é‘;_
. - ' ~ O‘.'="€_

2. Are you now under the influence of any drugs, medicine, or alcoholze §»>r'-~.
YES NO 7'?,_ § zc')C

‘." -'N' ing
3. Have you read the indictment/accusation charging you? YES &g) NO ¢"’,._. a ~O`;{-"
4. Do you understand completely what you are charged with? YES_S\Q_ NO§'= y
5. Do you understand that you have a right to a jury trial? YES_&§Q NO
6. Do you want to be tried by a jury? YES NO Bg}
7. Do you understand that you have the right to make the State bring in witnesses
to testify under oath at a trial and that you or your lawyer have the right to

question and cross-examine them? YES &MZ NO

8.

Do you understand that the Court can make any witnesses you have come into

court to testify in your defense? YES buy NO

9. Do you want any witnesses, either for or against you, brought into court for

 

 

trial? YES NO !BQ

10. Do you understand that you do not have to enter a plea to any charge unless
the Grand Jury has heard sworn evidence and charged you in an indictment? YES
NG

11. Do you understand that for the offense(s) of Q £€Vc'

you could be sentenced to goqrf ? YES §|Q NO

12.

to start after the completion of any sentence you are now serving
YES |§§5)

Do you understand that whatever sentence is given by the Couq ereitchiM-?n%ade

low|ng is o true and

correct copy as filed in the

Offlce of Clerk or Superlor
Courl of chow County

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1',3. 'Do§you understand that if you are now on probation or parole, a plea of guilty
may result in a revocation of your probation or parole?
YES and NO

14. Do you understand that if you are not a citizen of the United States, that a
guilty plea to the above offense(s) could result in your deportation?

YES 1515 l NO

15. Do you understand that, even though the State may make a recommendation
concerning your sentence, the Court does not have to accept this recommendation?

YES but NO

16. Are you satisfied with what your lawyer has done for you? YES@L)_ NO

 

17. Do you understand all of the questions you have answered so far?
YES NO

 

18. Understandin all your rights, do you want to enter a plea of guilty to this
offense(s)? YES NO

19. ls your decision to plead made freely and voluntarily? YES fB {Al NO

20. Has anyone made any threats or promises to you or used any force against you
in order to cause you to plead guilty? YES l NO

21. Did you in fact commit the offense(s) in the indictment/accusation?
YES_&|Q No

 

22. Are you in fact guilty as charged in the indictment/accusation?
YES NO

I, Ei/QLJM wl //fovL’(_ , understand all the questions above and have

shown"that I understand and waive my rights by putting my initials in the correct

. blank after each question.

 

l r
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DEF NDANT
/ jr c 1 s o o z
I, O\/r)’\ WJ`WL/ , am counsel for the Defendant in the above-

stylefd case and I hereby certify that I have investigated the facts of this case
and the evidence available to the State and I believe that it is in the best

interest of my client to lead guilty to the offense(s) of
Hépd\/L_ . I further certify that I

have reviewed all the above que ions with my client and am assured that me client
understands them and that s/h s indicated his/her understanding of his/her
s/her waiver o th by initialing the appropriate blank after each

M ,/ /o/zz/<rf

Attox)hey ifor Deferldant Date

 

 

    
  

 

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IN THE SUPBRIOR COURT OF BARROW COUNT!, GBORGIA

sTATs oF GaoRGIA § Case No. V'/l/’ll/ML€/C&

vs § Charge s M zé ' ,é’LV/h//’% V€L//z/C¢
gnma/004 Ufr//:ZLM s _/z:é/w/M .f:r/////¢ j

O§D§B

The Court has reviewed the formal acknowledgement and waiver of rights of the
defendant attached hereto and has ascertained that the understanding and waiver of
rights represented thereby is both intelligent and voluntary, in particular, from
questioning of the defendant and his/her counsel and from the aforesaid
acknowledgement of waiver, the Court has affirmatively determined that (1) there
is a factual basis for the plea of guilty; (2) that the defendant understands the
nature of the charges against him/her and the consequences of this plea; (3) that
the accused is pleading freely and voluntarily, uninfluenced by the slightest hope
of benefit or the remotest for of injury; (4) that the accused is in fact guilty;
(5) that there has been a knowing and voluntary waiver of trial by jury,
confrontation of witnesses, and the privilege against self-incrimination.

WHEREFORE, the Court accepts the tendered plea of guilty. Further ORDERED,
that this order and the defendant's acknowledgement and waiver of rights, with
certificate of counsel attached, be filed as a part of the record in this case.

This gm day of &CMQ[ , 200 f .

//%%I ,~

JUDGEPS\'Jperior Court
Piedmont Judicial Circuit

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`VS ')\anU;| MOUH"»'{‘
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G.:‘» -'

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adm ua zz 130 10

 

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ms arms or auction '_‘D annum herron uo. - "' ¢Q "

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uro Lssssn mcmann DGoILTY or rucc.onsn n norge

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ON COUNT(S)

 

ON CQUNT (5)
FDEFENDANT WAS ADV|SED OF lllS RlGH'l` TO HAVE THlS SEN'['ENCE REV|EWED B\' THE SUPERIOR COURTS SENTENCE REVIEW PA.NEL

l'.l himme SIN‘I'ENCE

WlIEREAS, the above-named defendant has been found guilty of tbe+ a ve _stated offense.WH m UPON, it is ordered and adjudged b the Court tbat; The laid
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ins

 

 

 

 

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endan is h reby sentenced to a
SlnC€ 29 2001 ln the Stnte Pemd System or such other
titution as the Commissioner ol` the State Depnrtml of Corrections may diroct. to be computed as provided by iaw.
However, it is further ordered by the Court:

n l) THAT the above sentence be served n prob tiou
9/2) THAT upon service of wm of the above sentence, the remainder of _BBAMEB@” be served on probation PROVIDED that
the said defendant complies with the following general and other cooditlons imposed by the C ns part of thk sentence. Probatloner is to contact the l’robation

Ofilce within 5 day of release from incarceration

 

CON'DITIONS GF PROBATION
Y0 MUST:
bey all laws and avoid persons of dlsreputable or harmful character.
) Abstsin from the use of alcohol and narcotics and submit to random alcohol/drug screenings by any law enforcement officer.
Fork faithftu and not change your present residence or leave the jurisdiction of the Court without pcrmistiou.
4) Report to the probation Supervisor as directed and allow such Supervlsor to vlsit you wherever you sre.
:,:){Comply with OGCA 24-4-60 requiring DNA testing and all costs associated with the process.
Pay probation supervision fee of $20.00+3.00 per moulh. to the Probatlou Ot'i'xce beginning Wn rel¢g,)c,,
cl 7) Perform hours of community service as directed by the Probatinn Supervisor, to be mp eted al the minimum rate of eight (B) hours per week.
:?,V€i'ify weekly attendance at DAlcohoiics Anonymous DNarcotics Anonymous for consecutive weeks.
) Be truthful with the Probation Ofticer.
010) Pt'ovide proof to the Probatioo Ofl'icer of completion/attendance of evaluation/treatment for 0 Meutal Health, D substance abuse, or ll Domest.lc Violence at
own expense
oll) No contact/No violent contact with
DlZ) Supervised under lntenslve Probatlon Supervislon snd»conditlons thereof, including 96 hours Community Service.
I;:;)fh‘ohation to be termhiated/non¢reporting upon payment of line and recommendation of probatlon supervisor.
Ablde By Any Curfew as established by the Probatlon Ofl'icer.
t:\l§) Defendant to be remanded to a State Ceuter/Program to remain for n period of abiding by all rules ot` said CenterlProgram.
The probationer shall serve in custody suspen upon entrance to said Ccnter/Program.
#(6) lt is further ordered that the Defendant pay a fine in the amount of plus $50. 00 or 1070 whichever ls less pursuant to O.C. G.A. 1$-21-70 plus 10%
Jail Penalty Fee, plus $% pursuant to 0. C. G A. 15-21-131, uplus 10 OCGA 40-6-391- DUl/Spinal Injury Surcharge, plus l:lDUl Surcharge ($25), $ZS(M} or
$K)(F)o ach count pursuant to SBZIS-Crime Lab Fee, court costs of § nplus 50% drug surcharge if applicable, and psil restitution in the amount of

to _LM¢&`,£__[EQW_. Pnyments are to be made to the State Frobation Ofi'tce beginning on 30 at the rate of
. per mouth. “pm m
7) Traosfer supervision to the county of residence

ultl) Waive 4tb Amendment§ghts ,.¢u.
916 Otber Condi.tiotm’t d

lt ls FURTI|ER ORDERED of the Court, and the defendant is hereby advised that the Court may, at any time revoke any conditions of this probation and!or discharge
the defendant from pmbation. The probationer shall be subject to arrest for violation of any condition of probation herein granted lf such probation b revoked, the
Court may order the execution of the sentence which was originally imposed or any portion thereof in the manner provided by law after deducting therefrom the amount

of time the defendant has served on probation.
The defendant was represented by the Honorahle_hMD_£hd§MgAttorney at Law, wcmmty by ( Appjutment)

 

 

   
  

 

 

 

    

    
 

   

 

 

So ordered this 21 day of 0(.`,}'0‘:}( . 20 Dl
°Superior Court
Cuti£inte of Senhe -'l`his is to certify and acknowledge that a true and correct copy of this Flnal Disposi oakes been delivered in person and the defendant has been
duly lost ed regarding c condition as set orth. \ l hereby'Cetlily mci the
day of ' _ ' f
IL§!JL a :¢ 1 allowing ls c true and
”°‘*“"““' office of clem of superior
QCouri of Bonow County
Georglc
colum \6 70®
Q/v~t)- ‘*U\A/L

 

®fk/Den\ nw clerk

Case 2:17-cr-00058-_|__GW-BWC Document 62 Filed 09/26/18 Page 8 of 9

. IN THE SUPERIOR COURT OF BARROW COUNTY

'STA'I'E or GEoRGIA DOCKET No. 01CR92 _ _ '
ii lLE.U
vs. 0FFENSE= THEF'BL¢PMRGCU¢RHAVATED ASSAULT

BARROW CUUHTY.`GA.
KE:NNETH BRANDON wILLImx-Is
uoTIoN 'ro mm PRoaATIcNO§:h§§BN!:§ mm 29

WHEREAS, this Court did sentence the above namg§pgy§¥§£%§§§£§L€§ 22ND Mday of
OCTOBER, 2001l as follows: (CT ll 10 YEARS SERVE MM TIME SERVED
SINCE 7/29/01, REMAINDER OF 8 YEARS 6 MONTHS TO BE SERVED ON PROBATION; (CT 2)

10 YEARS SERVE 18 MONTHS CREDIT FOR TIME SERVED SINCE 7/29/01, REMAINDER OF 8
YEARS 6 MONTHS TO BE SERVED ON PROBATION, CONCURRENT WITH COUNT 1.

WHEREAS, the Defendant violated the terms and conditions of probation as
follows: CONDITION #1 OBEY ALL LAWS AND AVOID PERSONS OR PLACES OF HARMFUL
CHARACTER TN THAT DEFENDANT coMMITTED THE NEw oFFENsE or POSSESSION 0F
MARIJUANA (LESS THAN 0NE oUNCE) IN GLYNN coUNTY, GA on 0R ABouT 6/21/03.
coNDITIoN #4 REPORT To THE PROBATION SUPERVISOR ns DIRECTED AND ALLOW SUCH
sUPERvIsOR TO vISIT YOU wHEREvER YOU ARE IN THAT DEFENDANT FAILED To REPORT To
THE wAYCROSs PROBATION OFFICE on 4/3/03, 5/1/03, 6/5/03 oR oN ANY sUBsEQUENT
DATE. counITIoN #16 PAY FINES / SURCHARGES IN THE AMOUNT OF $2973 AND
RESTITUTION IN THE AMOUNT oF $200 To THE wINDER PROBATION oFFICE AT THE RATE
0P $145 PER MoNTH TO BEGIN 2/1/03 IN THAT DEFENDANT‘S CURRENT ARREARS TOTAL
$725; DEFENDANT HAS FAILED To MAKE ANY PAYMENT AT ALL. coNDITION #6 PAY
PROBATION SUPERVISION FEE IN THE AMOUNT OF $23 PER MONTH To BEGIN 2/1/03 IN
THAT DEFENDANT'S ARREARS TO THE wAYCROSS PROBATION 0FFICE cURRENTLY TOTAL
$115; DEFENDANT HAS FAILED To MAKE ANY PAXMENT AT ALL.

WHEREAS, the Defendant waives his/her right to a revocation hearing and his/her
right to legal counsel at said hearing and admits to the above-cited violations.

WHEREAS, the Defendant and the Probation Office respectfully request the Court
to amend the Defendant‘s probated sentence to provide for the following
additional Condition(s): REVOKE 120 DAYS TO THE BARROW COUNTY JAIL TO BE
SUSPENDED UPON HIS ENTRANCE AND SUCCESSFUL COMPLETION OF NOT LBSS THAN 120 AND
NOT MORE THAN 180 DAYS AT A STATE PROBATION DETENTION CENTER. UPON RELEASE FROM
CONFINEMENT DEFENDANT SHALL BE SUPERVISED UNDER INTENSIVE PROBATION SUPERVISION
AND WILL BE PLACED IN A HALFWAY HOUSE APPROVED BY PROBATION OFFICE. SAID
DISPOSITIONS ARE TO RUN CONCURRENT WITH WAYCROSS CASE OZR-031. UPON RELEASE FROM
CONFINEMENT DEFENDANT MUST REPORT TO THE WINDER PROBATION OFFICE WITHIN 24 HOURS
OF RELEASE. ALL ORIGINAL TERMS AND CONDITIONS OF PROBATION ARE TO REMAIN IN
EFFECT. ALL CONDITIONS ADDED HEREIN ARE CONSIDERED SPECIAL CONDITIONS AND ARE

none PURSUANT To o.c.G.A. 42-3-34.1. M@r?
Tn:cs O.“~ nms or , 03.
defendant, émmn'mrn. wIL: LIAMS Probation officer BEVERLY GRANT

dmont J `cial Circuit

Ré%bmmended

 

 

 

  

~____"
lApp ved \ \

ORD R

an consi er d the Mcticn to Amend Probation Sentence, the

sai motion.
or red this day of

upé-fibfo’_ court Judge, RoBERT ADAMSoN
iedmont Judicial Circuit |hmebycemwinaune

follow|ng is c true and
correct copy cs filed in the
Off|ce cl Clerk of Super|or

Court of Bcnow County

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This Court having re
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Case 2:17-cr-00058-LGW-BWC Document 62 Filed 09/26/18 Page 9 of 9

IN THE SUPERIOR COURT OF BARROW COUNTY ll q

~-_----~- -- -- s'r~A-Ts oF GEORseA--~~-----~-»--

STATE OF GEORGIA DOCKET NO. OlCR921A
'VS . OFFENSE: THEFT BY TAKING, AGGRAVATED
ASSAULT

KEN'NETH BRANDON WILLIAMS

AFFIDAVIT
Comes now the Defendant in the above styled case, before an Officer
duly authorized to administer oaths, and does swear and depose as
follows:

I understand that I am charged with the violation of the terms and
conditions of my probation based upon the facts contained in the
Motion To Amend Probated Sentence. I further understand that I
have the right to have a Judge determine whether the facts alleged
in the Motion To Amend Probated Sentence are true, and if they are
true, whether they constitute a violation of the terms and
conditions of my probation. I further understand the following:

a. If a probation revocation hearing were held that I would be
presumed to be innocent;

b. If a probation revocation hearing were held that I would have
the right to confront the witnesses that testify against me;

c. If a probation revocation hearing were held that I would have
the right to subpoena witnesses to testify in my behalf;

d. If a probation revocation hearing were held that I would have
the right to testify and to offer other evidence in my behalf;

e. If a probation revocation hearing were held that I would have
the right not to incriminate myself;

f. If a probation revocation hearing were held that I may be

represented by an attorney at said hearing.

I understand that by joining with the Probation Office in the
attached motion, that I waive all other rights set forth above in
this affidavit.

I have read or have had read to me the above affidavit. Any of the
terms of the affidavit that I did not understand have been

explained to me and I fully understand the content and meaning of
the affidavit.

ber
This 91*'\ day of me , 2003./¥/4’ f : §.
Def ndant, KENNE H B oN wILLIAMs

WITNESSED BY: %77 KM 09_09"03

Witness Signa€ure Date

....~. . ,. ..

